     Case 2:25-cv-02068-TC-ADM             Document 1       Filed 02/11/25      Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

MURRAY D. ANDERSON Sr.
______________________________________          )
                                                )
in his individual capacity and as Chief Exe )
______________________________________
                                                )
cutive Officer Freedmen's International
______________________________________          )
(Enter above the full name of the Plaintiff(s)  )
                                                )
vs.                                             )      Case Number__________________
                                                )
David Toland, Sec DOC State of Kansas
______________________________________          )
Name                                            )
______________________________________
300 S.W. 10th Ave                               )
Street and number                               )
Topeka             Kansas           66612
______________________________________ )
City                   State            ZipCode )

(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side of this sheet).
                                      CIVIL COMPLAINT

I.     Parties to this civil action:

       (In item A below, place your name in the first blank and place your present address in the
       second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

       A.                        Murray D. Anderson Sr. d/b/a FIBI
               Name of plaintiff___________________________________________________

                       3030 Powell Ave. Suite 215
               Address___________________________________________________________

               Kansas City Kansas 66106
               __________________________________________________________________

               __________________________________________________________________




                                                 1
      Case 2:25-cv-02068-TC-ADM             Document 1        Filed 02/11/25       Page 2 of 6




       (In item B below, write the full name of the defendant in the first blank. In the second
       blank, write the official position of the defendant. Use item C for the names and positions
       of any additional defendants).

       B.              David Toland,
              Defendant________________________________________________________is

                          Lieutenant Governor and Sec, Dept of Commerc
              employed at _______________________________________________________

              State of Kansas
              __________________________________________________________________

       C.                          Kris Kobach
              Additional Defendants_______________________________________________

              __________________________________________________________________
              Attorney General

              __________________________________________________________________


II.    Jurisdiction:

       (Complete one or more of the following subparagraphs, A., B.1, B.2., or B.3., whichever is
       applicable.)

       A. (If Applicable) Diversity of citizenship and amount:
              1.       Plaintiff is a citizen of the State of ___________________.
                                                                    Kansas
              2.       The first-named defendant above is either
                              a. a citizen of the State of ____________________;
                                                                  Kansas         or
                              b. a corporation incorporated under the laws of the State of
                                   __________________ and having its principal place of business
                                   in a State other than the State of which plaintiff is a citizen.


              3. The second-named defendant above is either
                              a.       a citizen of the State of __________________;
                                                                       Kansas        or
                              b.       a corporation incorporated under the laws of the State of
                              ______________ and having its principal place of business in a
                              State other than the State of which plaintiff is a citizen.

              (If there are more than two defendants, set forth the foregoing information for each
              additional defendant on a separate page and attach it to this complaint.)
              Plaintiff states that the matter in controversy exceeds, exclusive of interest and
              costs, the sum of seventy-five thousand dollars ($75,000.00).


                                                  2
Case 2:25-cv-02068-TC-ADM            Document 1       Filed 02/11/25      Page 3 of 6




        B.     (If applicable) Jurisdiction founded on grounds other than diversity
        (Check any of the following which apply to this case).


          ✔ 1.
        _____           This case arises under the following section of the Constitution of
                        the United States or statute of the United States (28 U.S.C. '1331):
                        Constitution, Article_____, Section_____;
                        Statute, US Code, Title_____,
                                                  42     Section_____.
                                                                 1983


          ✔ 2.
        _____           This case arises because of violation of the civil or equal rights,
                        privileges, or immunities accorded to citizens of, or persons within
                        the jurisdiction of, the United States (28 U.S.C. '1343).

        _____ 3.        Other grounds (specify and state any statute which gives rise to such
                        grounds):

                        _____________________________________________

                        _____________________________________________

                        _____________________________________________

                        _____________________________________________

 III.   Statement of Claim:

 (State here a short and plain statement of the claim showing that plaintiff is entitled to
 relief. State what each defendant did that violated the right(s) of the plaintiff, including
 dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
 If you intend to allege more than one claim, number and set forth each claim in a separate
 paragraph. Attach an additional sheet, if necessary, to set forth a short and plain statement
 of the claim[s].)

 The Defendant owed a duty to the Plaintiff to distribute ARPA funds in a non-
 ________________________________________________________________________

 discriminatory manner and breached this duty, causing harm to the Plaintiff. The
 ________________________________________________________________________

 Defendent awarded 99% of available ARPA fund to profit and non profit busines
 ________________________________________________________________________

 owned, controlled and lead by White men and White women. The Defendent
 ________________________________________________________________________

 made no effort to create the capacity to fund the $7.9 billion ask from Kansans.
 ________________________________________________________________________

 IV.    Relief:

 (State briefly exactly what judgement or relief you want from the Court. Do not make
 legal arguments.)

                                          3
Case 2:25-cv-02068-TC-ADM          Document 1       Filed 02/11/25       Page 4 of 6




  I am petitioning the court to issue an order demanding the State of Kansas to
 ________________________________________________________________________

 invest $150 million in FIBI to create $7.9bn to the FIBI Public Welfare Investment
 ________________________________________________________________________

 fund-partnering with FIBI to negotiate a $2.5bn US Treasury guarantee for Fee
 ________________________________________________________________________

 V.      Do you claim the wrongs alleged in your complaint are continuing to occur at the
 present time? Yes [ ] No [ ]

 VI.    Do you claim actual damages for the acts alleged in your complaint?
        Yes [ ]     No [ ]

 VII.   Do you claim punitive monetary damages? Yes [ ]         No [ ]


 If you answered yes, state the amounts claimed and the reasons you claim you are entitled
 to recover money damages.

 The FIBI-PWI capital formation strategy is designed to raise not less $2.5 bn
 ________________________________________________________________________

 in private capital through an Inital Public Offering and fund a national charter
 ________________________________________________________________________

  with $500 million in capital to raise $5.9bn in bank deposits to build capacity
 ________________________________________________________________________

 to fund the $7.5bn in ARPA economic revitalization request. The Defendant
 ________________________________________________________________________

 ignored the financial merits of the FIBI proposal while denying the Plaintiff
 ________________________________________________________________________

 rights of "Equal Protection" and Black Kansas $7.9bn in capital and credit.
 ________________________________________________________________________




                                         4
      Case 2:25-cv-02068-TC-ADM              Document 1        Filed 02/11/25    Page 5 of 6




       VIII.    Administrative Procedures:

                A.     Have the claims which you make in this civil action been presented through
                any type of Administrative Procedure within any government agency?
                Yes [ ] No [ ]

                B.     If you answered yes, give the date your claims were presented,
                how they were presented, and the result of that procedure:

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                C.      If you answered no, give the reasons, if any, why the claims made in this
                action have not been presented through Administrative Procedures:

                __________________________________________________________________
                I made several request for a meeting with the Sec of Administration State

                of Kansas that failed before pursuing litigation. The Defendant has refuse
                __________________________________________________________________

                d to accept every meeting request.
                __________________________________________________________________

IX.    Related Litigation:

       Please mark the statement that pertains to this case:

       ______          This cause, or a substantially equivalent complaint, was previously filed in
                       this court as case number _______________ and assigned to the Honorable
                       Judge ____________________________.
         ✔
       ______          Neither this cause, nor a substantially equivalent complaint, previously has
                       been filed in this court, and therefore this case may be opened as an original
                       proceeding.

                                                      ________________________________
                                                      ___________________________________
                                                      Signature of Plaintiff

                                                             Murray D. Anderson Sr.
                                                      ___________________________________
                                                      Name (Print or Type)

                                                      3030 Powell Ave. Suite 215
                                                      ___________________________________
                                                      Address




                                                 5
     Case 2:25-cv-02068-TC-ADM          Document 1      Filed 02/11/25    Page 6 of 6




                                                 Kansas City Kansas 66106
                                                 ___________________________________
                                                 City        State     Zip Code

                                                            (913) 314-0934
                                                 ___________________________________
                                                 Telephone Number


                         DESIGNATION OF PLACE OF TRIAL

Plaintiff designates { [ ]Wichita, [ ]Kansas City , or [ ]Topeka} , Kansas as the
                                        (Select One)
location for the trial in this matter.

                                                 _______________________________
                                                 Signature of Plaintiff


                            REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury { [ ]Yes or [ ]No }
                                     (Select One)


                                                 ________________________________
                                                  _______________________________
                                                 Signature
                                                  ignature of Plaintiff

        02/11/2025
Dated: __________
 (Rev. 10/15)




                                             6
